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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

   JENNIFER CESPEDES,

         Plaintiff,

   v.                                                   Case No: 8:22-cv-2815-VMC-SPF

   JOSE LUIS BELTRAN DMD MD LLC,

        Defendant.
   ___________________________________

                      CASE MANAGEMENT AND SCHEDULING ORDER

         Having considered the case management report prepared by the parties, see Fed.

   R. Civ. P. 26 (f), the Court enters this case management and scheduling order:

    Certificate of Interested Persons and Corporate Disclosure              April 21, 2023
    Statement
    Mandatory Initial Disclosures                                           April 28, 2023

    Discovery Deadline                                                  November 6, 2023

    Motions for Summary Judgment, Judgment on the                       December 4, 2023
    Pleadings, Daubert, and Markman Motions

    Summary Judgment Response                                             January 3, 2024

    Reply to Response                                                    January 17, 2024

    Meeting In Person to Prepare Joint Final Pretrial Statement             April 29, 2024

    Joint Final Pretrial Statement (Including a Single Set of                 May 9, 2024
    Jointly Proposed Jury Instructions and Verdict Form, also
    sent to Chamber’s email
    [chambers_flmd_Covington@flmd.uscourts.gov] in Microsoft
    Word®, Witnesses Lists, Exhibit Lists on Approved Form)
    Final Pretrial Conference                                               May 16, 2024
                                                                             at 9:00 a.m.
    Trial Term Begins                                                       June 3, 2024
                                                                             at 9:00 a.m.
    Estimated Length of Trial                                                      3 days
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    Jury/Non-Jury                                                             Jury

    Mediation
                                                       Deadline:     COMPLETED
                                                       Mediator:
    Designated Lead Counsel shall contact opposing
    counsel and the mediator to reserve a conference date
    and shall file a Notice with the Court within 21 days
    of the date of this Order advising of the name of the
    mediator and the date, time, and location of the mediation
    conference.
                                                                   Matthew W. Birk
    Designated Lead Counsel                      Attorney Name:     352-244-2069
    Pursuant to Local Rule 4.03(c)
    Lead Counsel                            Telephone Number:
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          The purpose of this order is to discourage wasteful pretrial activities, and to secure

   the just, speedy, and inexpensive determination of the action. See Fed. R. Civ. P. 1; Local

   Rule 1.01(a). This order controls the subsequent course of this proceeding. Fed. R. Civ.

   P. 16(b), (e). Counsel and all parties (both represented and pro se) shall comply with this

   order, with the Federal Rules of Civil Procedure, with the Local Rules of the United States

   District Court for the Middle District of Florida, and with the Administrative Procedures for

   Case Management/Electronic Case Filing. A copy of the Local Rules and Administrative

   Procedures may be viewed at http://www.flmd.uscourts.gov. Counsel shall also comply

   with the Ideals and Goals of Professionalism adopted by the Board of Governors of the

   Florida Bar on May 16, 1990 available at www.floridabar.org (Professional Practice-Henry

   Latimer Center for Professionalism); Local Rule 2.04(a).

   I.     DISCOVERY


          A.      Certificate of Interested Persons and Corporate Disclosure Statement
   – This Court has previously ordered each party, governmental party, intervenor, non-
   party movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons
   and Corporate Disclosure Statement using a mandatory form. No party may seek
   discovery from any source before filing and serving a Certificate of Interested Persons
   and Corporate Disclosure Statement. A motion, memorandum, response, or other paper
   – including emergency motion – may be denied or stricken unless the filing party has
   previously filed and served a Certificate of Interested Persons and Corporate Disclosure
   Statement. Any party who has not already filed and served the required certificate shall
   do so within the time required by this order, or sanctions will be imposed.

           B.     Limits on Discovery – Absent leave of Court, the parties may take no
   more than ten depositions per side (not per party). Fed. R. Civ. P. 30(a)(2)(A); Fed. R.
   Civ. P. 31(a)(2)(A). Absent leave of Court, the parties may serve no more than twenty-
   five interrogatories, including sub-parts. Fed. R. Civ. P. 33(a). Absent leave of the Court
   or stipulation by the parties, each deposition is limited to one day of seven hours. Fed. R.
   Civ. P. 30(d)(2). The parties may agree by stipulation on other limits on discovery within
   the context of the limits and deadlines established by this Case Management and
   Scheduling Order, but the parties may not alter the terms of this Order without leave of
   Court. See, e.g., Fed. R. Civ. P. 29.

          C.     Discovery Deadline – Each party shall timely serve discovery requests so
   that the Rules allow for a response prior to the discovery deadline. The Court may deny
   as untimely all motions to compel filed after the discovery deadline.
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           D.     Disclosure of Expert Testimony – On or before the date set forth in the
   above table for the disclosure of expert reports, the party shall fully comply with Fed. R.
   Civ. P. 26(a)(2) and 26(e). Expert testimony on direct examination at trial will be limited
   to the opinions, bases, reasons, data, and other information disclosed in the written
   expert report disclosed pursuant to this Order. Failure to disclose such information may
   result in the exclusion of all or part of the testimony of the expert witness.

          E.      Confidentiality Agreements – The parties may reach their own agreement
   regarding the designation of materials as “confidential.” There is no need for the Court to
   endorse the confidentiality agreement. The Court discourages unnecessary stipulated
   motions for a protective order. The Court will enforce stipulated and signed
   confidentiality agreements. See Local Rule 3.05. Each confidentiality agreement or
   order shall provide, or shall be deemed to provide, that “no party shall file a document
   under seal without first having obtained an order granting leave to file under seal on a
   showing of particularized need.” See also “Motions to File Under Seal” below.

   II.    MOTIONS

           A.     Certificate of Good Faith Conference – Before filing any motion in a civil
   case, the moving party shall confer with the opposing party in a good faith effort to
   resolve the issues raised by the motion, and shall file with the motion a statement
   certifying that the moving party has conferred with the opposing party, and that the
   parties have been unable to agree on the resolution of the motion. Local Rule 3.01(g);
   Fed. R. Civ. P. 26(c). A certification to the effect that opposing counsel was unavailable
   for a conference before filing a motion is insufficient to satisfy the parties' obligation to
   confer. See Local Rule 3.01(g). No certificate is required in a motion for injunctive relief,
   for judgment on the pleadings, for summary judgment, or to certify a class. Local Rule
   3.01(g). The term "movant" in Rule 3.01(g) includes pro se parties acting as their own
   counsel, thus requiring movants to confer with pro se parties and requiring pro se
   movants to file Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a
   substantive conversation in person or by telephone in a good faith effort to resolve the
   motion without court action and does not envision an exchange of ultimatums by fax,
   letter or email. Movants who merely “attempt” to confer have not “conferred.” Parties
   must respond promptly to inquiries and communications from the opposing party. Board
   of Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed
   of Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
   (Professional Practice-Henry Latimer Center for Professionalism.) The Court will deny
   motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

          B.     Extension of Deadlines

         The deadlines established in this Case Management and Scheduling Order are
   not advisory but must be complied with absent approval of the Court.

                  1.      Dispositive Motions Deadline and Trial Not Extended – Motions
   to extend the dispositive motions deadline or to continue the trial are generally denied.
   The Court will grant an exception only when necessary to prevent manifest injustice. A
   motion for a continuance of the trial is subject to denial if it fails to comply with Local Rule
   3.08. The Court cannot extend a dispositive motion deadline to the eve of trial. In light of
   the district court’s heavy trial calendar, a period of at least four months is required before
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   trial to receive memoranda in opposition to a motion for summary judgment, and to
   research and resolve the dispositive motion.

                  2.     Extensions of Other Deadlines Disfavored – Motions for an
   extension of other deadlines established in this order, including motions for an extension
   of the discovery period, are disfavored. The deadline will not be extended absent a
   showing of good cause. Fed. R. Civ. P. 16(b); Local Rule 3.08(a). Failure to complete
   discovery within the time established by this Order shall not constitute cause for
   continuance. A motion to extend an established deadline normally will be denied if the
   motion fails to recite that: 1) the motion is joint or unopposed; 2) the additional discovery
   is necessary for specified reasons; 3) all parties agree that the extension will not affect
   the dispositive motions deadline and trial date; 4) all parties agree that any discovery
   conducted after the dispositive motions date established in this Order will not be available
   for summary judgment purposes; and 5) no party will use the granting of the extension in
   support of a motion to extend another date or deadline.

          The filing of a motion for extension of time does not toll the time for compliance
   with deadlines established by Rule or Order.

           C.    Motions to File Under Seal – Whether documents filed in a case may be
   filed under seal is a separate issue from whether the parties may agree that produced
   documents are confidential. Motions to file under seal are disfavored, and such motions
   will be denied unless they comply with Local Rule 1.11.

           D.     Memoranda in Opposition – Each party opposing any written motion,
   except a motion for summary judgment under Section II H below, shall file and serve,
   within the deadline set by Local Rule 3.01(c), a legal memorandum with citation of
   authorities in opposition to the relief requested. Local Rule 3.01(b)-(c). Where no
   memorandum in opposition has been filed, the Court routinely grants the motion as
   unopposed. Motions titled as “unopposed” or “agreed” normally come to the Court’s
   attention prior to the deadline for response.

           E.     Emergency Motions – The Court may consider and determine emergency
   motions at any time. Local Rule 3.01(e). Counsel should be aware that the designation
   “emergency” may cause a judge to abandon other pending matters in order to
   immediately address the “emergency.” The Court will sanction any counsel or party who
   designates a motion as “emergency” under circumstances that are not a true emergency.
   It is not an emergency when counsel has delayed discovery until the end of the discovery
   period. Promptly after filing an emergency motion, counsel shall place a telephone call to
   the chambers of the presiding judge to notify the court that an emergency motion has
   been filed.

            F.     Page Limits - No party shall file a motion and supporting memorandum in
   excess of twenty-five pages. Local Rule 3.01(a). No party shall file an opposing brief or
   memorandum in excess of twenty pages. Local Rule 3.01(b). A motion requesting leave
   to file either a motion in excess of twenty-five (25) pages, a response in excess of twenty
   (20) pages, or a reply or further memorandum shall not exceed three (3) pages, shall
   specify the length of the proposed filing, and shall not include, as an attachment or
   otherwise, the proposed motion, response, reply, or other paper. Local Rule 3.01(a), (b),
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   (d). Motions for relief from page limitations are disfavored and will not be granted without
   a specific showing of good cause.

           G.     Motions for Summary Judgment : Required Materials – A motion for
   summary judgment shall specify the material facts as to which the moving party contends
   there is no genuine issue for trial, and shall include a memorandum of law, and shall be
   accompanied by affidavits and other evidence in the form required by Fed. R. Civ. P. 56.
   The motion for summary judgment and supporting memorandum of law shall be
   presented in a single document of not more than twenty-five pages. Local Rule 3.01(a).
           Each party opposing a motion for summary judgment shall serve, within twenty-
   one days after being served with such motion, a legal memorandum with citation of
   authorities in opposition to the relief requested as required by Local Rule 3.01(b) of not
   more than twenty pages. The memorandum in opposition shall specify the material facts
   as to which the opposing party contends there exists a genuine issue for trial, and shall
   be accompanied by affidavit(s) and other evidence in the form required by Fed. R. Civ. P.
   56.
           Both the movant and the party opposing summary judgment shall provide pinpoint
   citations to the pages and lines of the record supporting each material fact. General
   references to a deposition are inadequate. On or before the date on which the
   memorandum in opposition is due, the parties may also file a stipulation of agreed
   material facts signed by the movant and the parties opposing summary judgment.
   Material facts set forth in the stipulation will be deemed admitted for the purposes of the
   motion.

         H.       Daubert and Markman Motions – On or before the date established in the
   above table for the filing of motions for summary judgment, any party seeking a ruling
   pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)
   (admissibility of expert opinions) or pursuant to Markman v. Westview Instruments, Inc.,
   517 U.S.370 (1996) (interpretation of a patent claim) shall file and serve an appropriate
   motion. The parties shall prepare a glossary of technical or scientific terms where
   appropriate for the Court.

           I.     All Other Motions Including Motions In Limine – On or before the date
   established in the above table, the parties shall file and serve all other motions including
   motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and
   limit the issues in dispute.

   III.    JOINT FINAL PRETRIAL STATEMENT

          A.     Meeting In Person – On or before the date established in the above table,
   lead trial counsel for all parties and any unrepresented parties shall meet together in
   person pursuant to Local Rule 3.06(a) in a good faith effort to:

                 1.     settle the case; the parties shall thoroughly and exhaustively discuss
   settlement of the action before undertaking the extensive efforts needed to conduct final
   preparation of the case for trial and to comply with the requirements of this order;

                 2.     discuss the efficient presentation of the evidence and the duration of
   the trial;
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                  3.    stipulate to as many facts and issues as possible; in order to assist
   the Court, the parties shall make an active and substantial effort to stipulate at length and
   in detail as to agreed facts and law, and to limit, narrow, and simplify the issues of fact
   and law that remain contested; as a rule, parties who have complied with this
   requirement in good faith will file a Joint Final Pretrial Statement listing far more agreed
   facts and principles of law than those that remain for determination at trial;

                  4.     tag, mark, identify, examine, copy, and list all original trial exhibits
   (including actual document exhibits) that any party will offer in evidence or otherwise
   tender to any witness during trial [Local Rule 3.06(a)(4) and 3.07(a)] (instructions for pre-
   marking of exhibits attached to this order); and prepare and exchange a final exhibit list
   on the Clerk’s approved form (attached to this order) bearing a description identifying
   each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is anticipated that counsel will
   agree to the admission of the bulk of the opposing parties’ exhibits without objection and
   shall designate on the exhibit list the exhibits which the Court may admit without objection
   at trial. Absent good cause, the Court will not receive in evidence over objection any
   exhibits – including charts, diagrams, and demonstrative evidence – not presented to
   opposing counsel or unrepresented parties for inspection and copying at the required
   meeting or not listed in the joint final pretrial statement. Photographs of sensitive exhibits
   (i.e., guns, drugs, valuables) and of non-documentary evidence, and reductions of
   documentary exhibits larger than 8 ½” by 14” to be substituted for original exhibits after
   conclusion of the trial must be presented to opposing counsel for examination at the
   meeting to prepare the Joint Final Pretrial Statement. Objections to such photographs or
   reductions of exhibits must be listed in the Joint Final Pretrial Statement. The parties are
   directed to contact the trial judge’s courtroom deputy clerk to discuss exhibits and
   equipment to be used during trial; and

               5.      exchange the names, telephone numbers, and addresses of all
   witnesses and state whether they will likely be called.

          B.     The Joint Final Pretrial Statement

                  1.     Form of Joint Final Pretrial Statement – On or before the date
   established in the above table, the parties shall file a Joint Final Pretrial Statement that
   strictly conforms to the requirements of Local Rule 3.06(b) and this Order. This case
   must be fully ready for trial at the time that the Joint Final Pretrial Statement is due.
   Anticipated length of trial based on issues remaining at the time of the pretrial conference
   must be included as a separate line item in the parties Joint Final Pretrial Statement.
   Lead trial counsel for all parties, or the parties themselves if unrepresented, shall sign the
   Joint Final Pretrial Statement. Sanctions may be imposed for failure to comply, including
   the striking of pleadings. The Joint Final Pretrial Statement will govern the trial. Local
   Rule 3.06(b).

                   2.    Exhibit List – The exhibit list filed in compliance with Local Rules
   3.06(b)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order).
   Unlisted exhibits will not be received into evidence at trial, except by order of the Court in
   the furtherance of justice. The Joint Final Pretrial Statement must attach each party’s
   exhibit list on the approved form listing each specific objection (“all objections reserved”
   does not suffice) to each numbered exhibit that remains after full discussion and
   stipulation. Objections not made – or not made with specificity – are waived.
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                   3.     Witness List – On the witness list required by Local Rule 3.06(b)(5),
   the parties and counsel shall designate which witnesses will definitely be called, and also
   designate which witnesses may be called. Absent good cause, the Court will not permit
   over objection testimony from unlisted witnesses at trial. This restriction does not apply
   to true rebuttal witnesses (i.e., witnesses whose testimony could not reasonably have
   been foreseen to be necessary). Records custodians may be listed but will not likely be
   called at trial, except in the rare event that authenticity or foundation is contested. For
   good cause shown in compelling circumstances, the Court may permit presentation of
   testimony in open court by contemporaneous transmission from a different location.
   Fed.R.Civ.P. 43(a).

                   4.    Depositions – The Court encourages stipulations of fact to avoid
   calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits the
   use of depositions. At the required meeting, counsel and unrepresented parties shall
   agree upon and specify in writing in the Joint Final Pretrial Statement the pages and lines
   of each deposition (except where used solely for impeachment) to be published to the
   trier of fact. The parties shall include in the Joint Final Pretrial Statement a page-and-line
   description of any testimony that remains in dispute after an active and substantial effort
   at resolution, together with argument and authority for each party’s position. The parties
   shall prepare for submission and consideration at the final pretrial conference or trial an
   edited and marked copy (as to the portion offered by each party) of any deposition or
   deposition excerpt which is to be offered in evidence.

          Five (5) days prior to trial, the parties shall file with the Court color-coded copies of
   deposition transcripts (preferably mini-script versions), reflecting, in different highlighted
   colors, the deposition excerpts designated by each party to be read at trial, with
   objections noted in the margin. Unresolved objections to videotape depositions shall be
   submitted to the Court ten (10) days prior to trial.

                  5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions – In
   cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
   Statement a single jointly-proposed set of jury instructions in order of presentation
   to the jury, together with a single jointly-proposed jury verdict form. The parties should
   be considerate of their jury, and therefore should submit short, concise special verdict
   forms. The Court prefers pattern jury instructions approved by the United States Court of
   Appeals for the Eleventh Circuit. A party may include at the appropriate place in the
   single set of jointly-proposed jury instructions a contested charge, so designated with the
   name of the requesting party and bearing at the bottom a citation of authority for its
   inclusion, together with a summary of the opposing party’s objection. The Court will deny
   outright a proposed instruction that is “slanted” in any way. The Court requires that the
   parties, send to the Chamber's email [chambers_flmd_covington@flmd.uscourts.gov] the
   single set of jury instructions and verdict form, in Microsoft Word®. The parties
   may include in the Joint Final Pretrial Statement a single list of jointly-proposed questions
   for the Court to ask the venire during voir dire.

           C.     Coordination of Joint Final Pretrial Statement – All parties are
   responsible for filing a Joint Final Pretrial Statement in full compliance with this order.
   Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the primary
   responsibility to coordinate compliance with the sections of this order that require a
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   meeting of lead trial counsel and unrepresented parties in person and the filing of a Joint
   Final Pretrial Statement and related material. See Local Rule 3.10 (relating to failure to
   prosecute). If the plaintiff is proceeding pro se, defense counsel shall coordinate
   compliance. If counsel is unable to coordinate such compliance, counsel shall timely
   notify the Court by written motion or request for a status conference.

         D.    Trial Briefs, Proposed Findings of Fact and Conclusions of Law, and
   Exhibit Notebooks

                 Trial Briefs – Unless the Court specifically directs otherwise, Trial Briefs
   are not required in any civil case. If a party chooses to file a Trial Brief, such Trial Brief
   may be filed anytime, until and including the date of trial.

                   Proposed Findings of Fact and Conclusions of Law – In the case of a
   non-jury trial, the parties are directed to file Proposed Findings of Fact and Conclusions
   of Law after the trial. The due date will be specified by the Court at the Final Pretrial
   Conference, and will usually fall between 30 and 60 days after the conclusion of the trial
   depending on the Court Reporter’s schedule. Proposed Findings of Fact and
   Conclusions of Law should contain citations to the record.

                  Exhibit Notebook – On the first day of a jury trial or non-jury trial, the
   parties shall provide to the Court a bench notebook containing marked copies of all
   exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
   determine whether this requirement may be waived.

   IV.    MEDIATION

          A.      Purpose – To minimize costly pretrial procedures in a case that may be
   equitably settled, and to secure the just, speedy, and inexpensive determination of this
   action, all parties shall participate in good faith in mediation. See Fed.R.Civ.P. 1;
   Fed.R.Civ.P. 16(a)(5); Local Rules 1.01(a), 4.01.

           B.      The Mediator – This Court prefers to appoint the certified and approved
   mediator, if any, chosen by the parties in their Case Management Report. The mediator
   shall conduct the mediation conference in the conference room of the mediator’s law firm
   or office at a time and date selected by the mediator within the confines of this order.

          C.      Last Date to Mediate – The parties shall complete the mediation
   conference on or before the mediation date set forth earlier in the above table. Neither
   the mediator nor the parties have authority to continue the mediation conference beyond
   this date except on express order of the Court. In any complex case or case involving
   multiple parties, the mediator has the authority to conduct the mediation in a series of
   sessions and in groups of parties so that mediation is complete by the last date to
   mediate.

          D.    Mediator’s Authority – The mediator shall have all powers and authority to
   conduct a mediation and to settle this case as are described in Chapter Four of the Local
   Rules, except as limited by this order. The mediation shall continue until adjourned by
   the mediator. In order to coordinate the mediation conference, the mediator may set an
   abbreviated scheduling conference prior to the scheduled mediation. At such time, the
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    mediator may designate one or more coordinating attorneys who shall be responsible for
    conferring with the mediator regarding the mediation conference. If necessary, the
    coordinating attorney may coordinate the rescheduling of a mediation conference within
    the time allowed in this order.

           E.     General Rules Governing Mediation Conference

                  1.    Case Summaries – Not less than two business days prior to the
    mediation conference, each party shall deliver to the mediator a written summary
    of the facts and issues of the case.

                  2.      Identification of Corporate Representative – As part of the written
    case summary, counsel for each corporate party shall state the name and general job
    description of the employee or agent who will attend and participate with full authority to
    settle on behalf of the corporate party.

                   3.     Attendance Requirements and Sanctions – Each attorney acting
    as lead trial counsel, and each party (and in the case of a corporate party, a corporate
    representative) with full authority to settle, shall attend and participate in the mediation
    conference. In the case of an insurance company, the term “full authority to settle”
    means authority to settle for the full value of the claim or policy limit. The Court will
    impose sanctions upon lead counsel and parties who do not attend and participate in
    good faith in the mediation conference.

                 4.     Personal Attendance Required – All counsel, parties, corporate
    representatives, and any other required claims professionals shall be present at the
    Mediation Conference with full authority to negotiate a settlement. See Local Rule
    4.03(d). The Court does not allow mediation by telephone or video conference. Personal
    attendance is required.

                  5.     Authority to Declare Impasse – Participants shall be prepared to
    spend as much time as may be necessary to settle the case. No participant may force
    the early conclusion of a mediation because of travel plans or other engagements. Only
    the mediator may declare an impasse or end the mediation.

                  6.      Restrictions on Offers to Compromise – Evidence of an offer to
    compromise a claim is not admissible to prove liability for or invalidity of the claim or its
    amount. Fed. R. Evid. 408 (includes evidence of conduct or statements made in
    compromise negotiations). All discussion, representations and statements made at the
    mediation conference are privileged settlement negotiations. Except in a supplemental
    proceeding to enforce a settlement agreement, nothing related to the mediation
    conference shall be admitted at trial or be subject to discovery. Local Rule 4.03(g); Fed.
    R. Evid. 408. A communication between a party and a mediator during a private caucus
    is also confidential, unless the party tells the mediator that it is not.

           F.     Compensation of Mediators – Absent agreement of the parties and the
    mediator, mediators shall be compensated at a reasonable hourly rate provided by order
    of the Court after consideration of the amount in controversy, the nature of the dispute,
    the resources of the parties, the prevailing market rate for mediators in the applicable
    market, the skill and experience of the mediator, and other pertinent factors. Unless
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    altered by order of the Court, the cost of the mediator's services shall be borne equally by
    the parties to the mediator conference.

           G.     Settlement and Report of Mediator – A settlement agreement reached
    between the parties shall be reduced to writing and signed by the parties and their
    attorneys in the presence of the mediator. Within twenty-four hours of the conclusion
    of the mediation conference, the mediator shall file and serve a written mediation
    report stating whether all required parties were present, whether the case settled,
    and whether the mediator was forced to declare an impasse. The mediator may
    report any conduct of a party or counsel that falls short of a good faith effort to resolve the
    case by agreement or fails to comply with this Order. See Local Rule 4.03.

    V.     FINAL PRETRIAL CONFERENCE

            A.   Lead Trial Counsel and Parties – If a final pretrial conference is set, lead
    trial counsel and local counsel for each party, together with any unrepresented
    party, must attend in person unless previously excused by the Court. See
    Fed.R.Civ.P. 16(d).

           B.       Substance of Final Pretrial Conference – Since this case must be fully
    ready for trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial
    conference, all counsel and parties must be prepared and authorized to accomplish the
    purposes set forth in Fed.R.Civ.P. 16 and Local Rule 3.06, including formulating and
    simplifying the issues; eliminating frivolous claims and defenses; admitting facts and
    documents to avoid unnecessary proof; stipulating to the authenticity of documents;
    obtaining advance rulings from the Court on the admissibility of evidence; settling the
    dispute; disposing of pending motions; establishing a reasonable limit on the time allowed
    for presenting evidence; and such other matters as may facilitate the just, speedy, and
    inexpensive disposition of the action. See Fed.R.Civ.P. 16(c)-(d).

    VI.     SANCTIONS – The Court will impose sanctions on any party or attorney: 1) who
    fails to attend and to participate actively in the meeting to prepare the Joint Pretrial
    Statement, or who refuses to sign and file the agreed document; 2) who fails to attend the
    Final Pretrial Conference, or who is substantially unprepared to participate; 3) who fails to
    attend the mediation and actively participate in good faith, or who attends the mediation
    without full authority to negotiate a settlement, or who is substantially unprepared to
    participate in the mediation; or 4) who otherwise fails to comply with this order. Sanctions
    may include but are not limited to an award of reasonable attorney's fees and costs, the
    striking of pleadings, the entry of default, the dismissal of the case, and a finding of
    contempt of court. See Fed.R.Civ.P. 16(f) and 37; Local Rules 4.03(d), (e); 28 U.S.C. §
    1927.

    VII.   TRIAL

           A.     Trial Before District Judge – A case scheduled for trial before a United
    States District Court Judge normally will be called for trial during the scheduled trial term.
    Cases not reached for trial in the month scheduled will be carried over to the following
    month on a trailing trial calendar, and issued subpoenas will continue in force.
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           B.       Trial Before Magistrate Judge – A case scheduled for trial before a United
    States Magistrate Judge will be called for trial on a date certain. With respect to a civil
    case that remains pending before a District Judge as of the date of this order, the United
    States District Judges of the Middle District of Florida wish to afford the parties the
    opportunity to consent to proceed before a Magistrate Judge. Consent must be
    unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. § 636©
    and Fed.R.Civ.P. 73(a) to conduct all further proceedings in this case (or specified
    motions in this case), to conduct a jury or non-jury trial beginning on a date certain, and
    to enter final judgment. A party may appeal a final judgment of a Magistrate Judge to the
    United States Court of Appeals for the Eleventh Circuit in the same manner as an appeal
    from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is free to
    withhold consent without adverse substantive consequences. 28 U.S.C. § 636 (c)(2);
    Fed.R.Civ.P. 73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P.
    73(b).

            C.    Settlement – Counsel shall immediately notify the Court upon settlement or
    resolution of any case, even if the resolution is contingent or unwritten. Local Rule
    3.09(a). The parties shall notify the Court of any settlement or other disposition of the
    case which will eliminate the need for a jury by 11:30 a.m. on the last business day
    before the date scheduled for jury selection. Failure to do so will subject each party to
    joint and several liability for jury costs. Regardless of the status of settlement
    negotiations, the parties shall appear for all scheduled hearings, including the Final
    Pretrial Conference and for trial absent the filing of a stipulation of dismissal signed by all
    parties who have appeared in the action (or notice of dismissal if prior to answer and
    motion for summary judgment). Fed.R.Civ.P. 41(a).

           D.     Electronic Equipment – The parties are advised (and should advise their
    witnesses) that photo identification is required to enter the United States Courthouse.
    Parties and witnesses are not permitted to bring into the Courthouse a personal
    electronic device.

                   By court order dated September 26, 2013, any attorney permitted to
    practice law in the Middle District of Florida may bring any personal electronic device
    beyond the courthouse’s security checkpoint by presenting a valid Florida Bar
    identification card or by pro hac vice order. See attached order for guidelines.

           DONE and ORDERED in Tampa, Florida on this 25th day of April, 2023.
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    Attachments: Magistrate Judge Consent / Entire Case
                 Magistrate Judge Consent / Specified Motions
                 Exhibit List Form [mandatory form]
                 Order on Possession and Use of Personal Electronic Devices in Federal
                 Courthouses in the Middle District of Florida

    Copies to:   All Counsel of Record
        Case 8:22-cv-02815-VMC-SPF Document 28 Filed 04/25/23 Page 14 of 20 PageID 90
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

                  JENNIFER CESPEDES                                      )
                              Plaintiff                                  )
                       v.                                                )     Civil Action No.       8:22-cv-2815-VMC-SPF
         JOSE LUIS BELTRAN DMD MD LLC                                    )
                            Defendant                                    )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
        Case 8:22-cv-02815-VMC-SPF Document 28 Filed 04/25/23 Page 15 of 20 PageID 91
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                  UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Middle District of Florida

                JENNIFER CESPEDES                                       )
                            Plaintiff                                   )
                      v.                                                )       Civil Action No. 8:22-cv-2815-VMC-SPF
        JOSE LUIS BELTRAN DMD MD LLC                                    )
                          Defendant                                     )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

                Motions:




          Parties’ printed names                            Signatures of parties or attorneys                               Dates




                                                            Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
       Case 8:22-cv-02815-VMC-SPF Document 28 Filed 04/25/23 Page 16 of 20 PageID 92




                                            EXHIBIT LIST
                                Plaintiff                 Defendant                Joint

                                Government                Court


                       Case No.                    8:22-cv-2815-VMC-SPF
                       Style:               Cespedes v. Jose Luis Beltran DMD MD LLC


 Exhibit        Date                Date                Sponsoring           Objections /               Description
 No.            Identified          Admitted            Witnesses            Stipulated                 of Exhibit
                                                                             Admissions 1




        1 Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without
objections. Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the
left must be one inch wide to accommodate the Clerk’s stamp.
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